          Case 2:24-cv-10768     Document 1    Filed 12/13/24   Page 1 of 11 Page ID #:1



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     SAM BENFORD
 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10                                                    Case No.:
     SAM BENFORD,
11                 Plaintiff,                         COMPLAINT FOR INJUNCTIVE
                                                      RELIEF AND DAMAGES FOR DENIAL
12           vs.                                      OF CIVIL RIGHTS OF A DISABLED
                                                      PERSON IN VIOLATIONS OF
13
                                                      1. AMERICANS WITH DISABILITIES
14                                                    ACT, 42 U.S.C. §12131 et seq.;
     RENEW AUTO COLLISION LLC; NUR
15   PROPERTIES LLC; and DOES 1 to 10,                2. CALIFORNIA’S UNRUH CIVIL
                                                      RIGHTS ACT;
16                 Defendants.
                                                      3. CALIFORNIA’S DISABLED
17                                                    PERSONS ACT;
18                                                    4. CALIFORNIA HEALTH & SAFETY
                                                      CODE;
19
                                                      5. NEGLIGENCE
20
21
22
23           Plaintiff SAM BENFORD (“Plaintiff”) complains of Defendants RENEW AUTO

24   COLLISION LLC; NUR PROPERTIES LLC; and DOES 1 to 10 (“Defendants”) and

25   alleges as follows:

26   //

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                                              COMPLAINT - 1
       Case 2:24-cv-10768      Document 1      Filed 12/13/24    Page 2 of 11 Page ID #:2




 1                                              PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3   hemiplegic due to a stroke, and is substantially limited in his ability to walk. Plaintiff
 4   requires the use of a wheelchair at all times when traveling in public.
 5            2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for an auto body shop
 7   (“Business”) located at or about 4677 San Fernando Rd., Glendale, California.
 8            3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11   Court to amend this Complaint when the true names and capacities have been
12   ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
13   fictitiously named Defendants are responsible in some manner, and therefore, liable to
14   Plaintiff for the acts herein alleged.
15            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20            5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                 JURISDICTION AND VENUE
25            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.).
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                                              COMPLAINT - 2
       Case 2:24-cv-10768      Document 1     Filed 12/13/24   Page 3 of 11 Page ID #:3




 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, Los Angeles County,
 8   California, and that all actions complained of herein take place in this district.
 9                                     FACTUAL ALLEGATIONS
10         10.    In or about October of 2024, Plaintiff went to the Business.
11         11.    The Business is an auto body shop business establishment, open to the
12   public, and is a place of public accommodation that affects commerce through its
13   operation. Defendants provide parking spaces for customers.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with his ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.     Defendants failed to comply with the federal and state standards for
20                       the parking space designated for persons with disabilities. Defendants
21                       failed to provide proper van accessible space designated for the
22                       persons with disabilities as there was no access aisle for wheelchair
23                       drop-off.
24                b.     Defendants failed to comply with the federal and state standards for
25                       the parking space designated for persons with disabilities. Defendants
26                       failed to paint the ground as required.
27                c.     Defendants failed to comply with the federal and state standards for
28                       the parking space designated for persons with disabilities. Defendants



                                            COMPLAINT - 3
       Case 2:24-cv-10768      Document 1      Filed 12/13/24   Page 4 of 11 Page ID #:4




 1                       failed to mark the space with the International Symbol of
 2                       Accessibility.
 3         14.    These barriers and conditions denied Plaintiff the full and equal access to the
 4   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
 5   patronize the Business; however, Plaintiff is deterred from visiting the Business because
 6   his knowledge of these violations prevents him from returning until the barriers are
 7   removed.
 8         15.    Based on the violations, Plaintiff alleges, on information and belief, that
 9   there are additional barriers to accessibility at the Business after further site inspection.
10   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
11   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
12         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
13   knew that particular barriers render the Business inaccessible, violate state and federal
14   law, and interfere with access for the physically disabled.
15         17.    At all relevant times, Defendants had and still have control and dominion
16   over the conditions at this location and had and still have the financial resources to
17   remove these barriers without much difficulty or expenses to make the Business
18   accessible to the physically disabled in compliance with ADDAG and Title 24
19   regulations. Defendants have not removed such barriers and have not modified the
20   Business to conform to accessibility regulations.
21                                     FIRST CAUSE OF ACTION
22          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
23         18.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
26   shall be discriminated against on the basis of disability in the full and equal enjoyment of
27   the goods, services, facilities, privileges, advantages, or accommodations of any place of
28




                                            COMPLAINT - 4
       Case 2:24-cv-10768    Document 1     Filed 12/13/24    Page 5 of 11 Page ID #:5




 1   public accommodation by any person who owns, leases, or leases to, or operates a place
 2   of public accommodation. See 42 U.S.C. § 12182(a).
 3         20.   Discrimination, inter alia, includes:
 4               a.    A failure to make reasonable modification in policies, practices, or
 5                     procedures, when such modifications are necessary to afford such
 6                     goods, services, facilities, privileges, advantages, or accommodations
 7                     to individuals with disabilities, unless the entity can demonstrate that
 8                     making such modifications would fundamentally alter the nature of
 9                     such goods, services, facilities, privileges, advantages, or
10                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
11               b.    A failure to take such steps as may be necessary to ensure that no
12                     individual with a disability is excluded, denied services, segregated or
13                     otherwise treated differently than other individuals because of the
14                     absence of auxiliary aids and services, unless the entity can
15                     demonstrate that taking such steps would fundamentally alter the
16                     nature of the good, service, facility, privilege, advantage, or
17                     accommodation being offered or would result in an undue burden. 42
18                     U.S.C. § 12182(b)(2)(A)(iii).
19               c.    A failure to remove architectural barriers, and communication barriers
20                     that are structural in nature, in existing facilities, and transportation
21                     barriers in existing vehicles and rail passenger cars used by an
22                     establishment for transporting individuals (not including barriers that
23                     can only be removed through the retrofitting of vehicles or rail
24                     passenger cars by the installation of a hydraulic or other lift), where
25                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
26               d.    A failure to make alterations in such a manner that, to the maximum
27                     extent feasible, the altered portions of the facility are readily
28                     accessible to and usable by individuals with disabilities, including



                                          COMPLAINT - 5
       Case 2:24-cv-10768     Document 1      Filed 12/13/24   Page 6 of 11 Page ID #:6




 1                       individuals who use wheelchairs or to ensure that, to the maximum
 2                       extent feasible, the path of travel to the altered area and the
 3                       bathrooms, telephones, and drinking fountains serving the altered
 4                       area, are readily accessible to and usable by individuals with
 5                       disabilities where such alterations to the path or travel or the
 6                       bathrooms, telephones, and drinking fountains serving the altered area
 7                       are not disproportionate to the overall alterations in terms of cost and
 8                       scope. 42 U.S.C. § 12183(a)(2).
 9         21.    Where parking spaces are provided, accessible parking spaces shall be
10   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
11   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
12   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
13   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
14   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
15         22.    For the parking spaces, access aisles shall be marked with a blue painted
16   borderline around their perimeter. The area within the blue borderlines shall be marked
17   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
18   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
19   be painted on the surface within each access aisle in white letters a minimum of 12 inches
20   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
21   11B-502.3.3.
22         23.    Here, Defendants failed to provide a proper access aisle as there were no
23   “NO PARKING” markings and blue hatched lines painted on the parking surface.
24   Moreover, Defendants failed to provide the access aisle with the minimum width of 96
25   inches.
26         24.    The surface of each accessible car and van space shall have surface
27   identification complying with either of the following options: The outline of a profile
28   view of a wheelchair with occupant in white on a blue background a minimum 36” wide



                                            COMPLAINT - 6
       Case 2:24-cv-10768       Document 1     Filed 12/13/24    Page 7 of 11 Page ID #:7




 1   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
 2   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
 3   length of the parking space and its lower side or corner aligned with the end of the
 4   parking space length or by outlining or painting the parking space in blue and outlining
 5   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
 6   occupant. See CBC § 11B-502.6.4, et seq.
 7         25.      Here, Defendants failed to paint the International Symbol of Accessibility on
 8   the surface as required.
 9         26.      A public accommodation shall maintain in operable working condition those
10   features of facilities and equipment that are required to be readily accessible to and usable
11   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
12         27.      By failing to maintain the facility to be readily accessible and usable by
13   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
14   regulations.
15         28.      The Business has denied and continues to deny full and equal access to
16   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
17   discriminated against due to the lack of accessible facilities, and therefore, seeks
18   injunctive relief to alter facilities to make such facilities readily accessible to and usable
19   by individuals with disabilities.
20                                 SECOND CAUSE OF ACTION
21                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
22         29.      Plaintiff incorporates by reference each of the allegations in all prior
23   paragraphs in this complaint.
24         30.      California Civil Code § 51 states, “All persons within the jurisdiction of this
25   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
26   national origin, disability, medical condition, genetic information, marital status, sexual
27   orientation, citizenship, primary language, or immigration status are entitled to the full
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                                             COMPLAINT - 7
       Case 2:24-cv-10768      Document 1      Filed 12/13/24   Page 8 of 11 Page ID #:8




 1   and equal accommodations, advantages, facilities, privileges, or services in all business
 2   establishments of every kind whatsoever.”
 3         31.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 4   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 5   for each and every offense for the actual damages, and any amount that may be
 6   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 7   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 8   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 9   person denied the rights provided in Section 51, 51.5, or 51.6.
10         32.    California Civil Code § 51(f) specifies, “a violation of the right of any
11   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
12   shall also constitute a violation of this section.”
13         33.    The actions and omissions of Defendants alleged herein constitute a denial
14   of full and equal accommodation, advantages, facilities, privileges, or services by
15   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
16   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
17   51 and 52.
18         34.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
19   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
20   damages as specified in California Civil Code §55.56(a)-(c).
21                                  THIRD CAUSE OF ACTION
22                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
23         35.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25         36.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
26   entitled to full and equal access, as other members of the general public, to
27   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
28   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,



                                             COMPLAINT - 8
          Case 2:24-cv-10768   Document 1      Filed 12/13/24   Page 9 of 11 Page ID #:9




 1   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 2   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 3   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 4   places of public accommodations, amusement, or resort, and other places in which the
 5   general public is invited, subject only to the conditions and limitations established by
 6   law, or state or federal regulation, and applicable alike to all persons.
 7           37.   California Civil Code § 54.3(a) states, “Any person or persons, firm or
 8   corporation who denies or interferes with admittance to or enjoyment of public facilities
 9   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
10   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
11   the actual damages, and any amount as may be determined by a jury, or a court sitting
12   without a jury, up to a maximum of three times the amount of actual damages but in no
13   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
14   determined by the court in addition thereto, suffered by any person denied the rights
15   provided in Section 54, 54.1, and 54.2.
16           38.   California Civil Code § 54(d) specifies, “a violation of the right of an
17   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
18   constitute a violation of this section, and nothing in this section shall be construed to limit
19   the access of any person in violation of that act.
20           39.   The actions and omissions of Defendants alleged herein constitute a denial
21   of full and equal accommodation, advantages, and facilities by physically disabled
22   persons within the meaning of California Civil Code § 54. Defendants have
23   discriminated against Plaintiff in violation of California Civil Code § 54.
24           40.   The violations of the California Disabled Persons Act caused Plaintiff to
25   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
26   statutory damages as specified in California Civil Code §55.56(a)-(c).
27   //
28   //



                                            COMPLAINT - 9
      Case 2:24-cv-10768     Document 1      Filed 12/13/24   Page 10 of 11 Page ID #:10




 1                                FOURTH CAUSE OF ACTION
 2                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
 3         41.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         42.    Plaintiff and other similar physically disabled persons who require the use of
 6   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
 7   such facility is in compliance with the provisions of California Health & Safety Code §
 8   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 9   provisions of California Health & Safety Code § 19955 et seq.
10         43.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
11   that public accommodations or facilities constructed in this state with private funds
12   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
13   Title 1 of the Government Code. The code relating to such public accommodations also
14   require that “when sanitary facilities are made available for the public, clients, or
15   employees in these stations, centers, or buildings, they shall be made available for
16   persons with disabilities.
17         44.    Title II of the ADA holds as a “general rule” that no individual shall be
18   discriminated against on the basis of disability in the full and equal enjoyment of goods
19   (or use), services, facilities, privileges, and accommodations offered by any person who
20   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
21   Further, each and every violation of the ADA also constitutes a separate and distinct
22   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
23   award of damages and injunctive relief pursuant to California law, including but not
24   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
25                                   FIFTH CAUSE OF ACTION
26                                         NEGLIGENCE
27         45.    Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



                                           COMPLAINT - 10
      Case 2:24-cv-10768      Document 1     Filed 12/13/24   Page 11 of 11 Page ID #:11




 1          46.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 2   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 3   to the Plaintiff.
 4          47.    Defendants breached their duty of care by violating the provisions of ADA,
 5   Unruh Civil Rights Act and California Disabled Persons Act.
 6          48.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 7   has suffered damages.
 8                                    PRAYER FOR RELIEF
 9          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
10   Defendants as follows:
11          1.     For preliminary and permanent injunction directing Defendants to comply
12   with the Americans with Disability Act and the Unruh Civil Rights Act;
13          2.     Award of all appropriate damages, including but not limited to statutory
14   damages, general damages and treble damages in amounts, according to proof;
15          3.     Award of all reasonable restitution for Defendants’ unfair competition
16   practices;
17          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
18   action;
19          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
20          6.     Such other and further relief as the Court deems just and proper.
21                               DEMAND FOR TRIAL BY JURY
22          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
23   demands a trial by jury on all issues so triable.
24
25   Dated: December 13, 2024                       SO. CAL. EQUAL ACCESS GROUP
26
27                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
28                                                  Attorneys for Plaintiff



                                           COMPLAINT - 11
